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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:                                                                Chapter 11

AMYRIS, INC., et al.,                                                 Case No. 23-11131 (TMH)

                                   Debtors.1                          (Jointly Administered)



                                                    Objections Due: September 7, 2023 at 4:00 P.M. (ET)
                                                    Hearing Date: September 14, 2023 at 2:00 P.M. (ET)

       NOTICE OF HEARING ON DEBTORS’ APPLICATION FOR ENTRY OF
               AN ORDER (A) AUTHORIZING THE RETENTION
        AND EMPLOYMENT OF INTREPID INVESTMENT BANKERS LLC
        AS INVESTMENT BANKER FOR THE DEBTORS AND DEBTORS IN
     POSSESSION, PURSUANT TO 11 U.S.C. §§ 327(A) AND 328, NUNC PRO TUNC
       TO THE PETITION DATE, (B) WAIVING CERTAIN REQUIREMENTS
     IMPOSED BY LOCAL RULE 2016-2, AND (C) GRANTING RELATED RELIEF

                   PLEASE TAKE NOTICE that on August 24, 2023, the above-captioned debtors

and debtors-in-possession (collectively, the “Debtors”) filed the attached Debtors’ Application for

Entry of an Order (A) Authorizing the Retention and Employment of Intrepid Investment Bankers

LLC as Investment Banker for the Debtors and Debtors in Possession, Pursuant to 11 U.S.C. §§

327(a) and 328, Nunc Pro Tunc to the Petition Date, (B) Waiving Certain Requirements Imposed

by Local Rule 2016-2, and (C) Granting Related Relief (the “Application”).

                   PLEASE TAKE FURTHER NOTICE that any objections to entry of the relief

requested in the Application are due on or before September 7, 2023 at 4:00 p.m. (prevailing




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    A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
    principal place of business and the Debtors’ service address in these chapter 11 cases is 5885 Hollis Street,
    Suite 100, Emeryville, CA 94608.


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Eastern Time) and must be filed with the Court and served on the below proposed counsel for the

Debtors.

                   PLEASE TAKE FURTHER NOTICE that a hearing to consider the relief

requested in the Application will be held before the Honorable Thomas M. Horan at the United

States Bankruptcy Court for the District of Delaware, 824 North Market Street, 3rd Floor,

Courtroom 7, Wilmington, Delaware 19801, on September 14, 2023 at 2:00 p.m. (prevailing

Eastern Time).

                   PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE FINAL RELIEF

REQUESTED IN THE APPLICATION WITHOUT FURTHER NOTICE OR HEARING.



 Dated: August 24, 2023                        PACHULSKI STANG ZIEHL & JONES LLP

                                               /s/ James E. O’Neill
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                                               Debra I. Grassgreen (admitted pro hac vice)
                                               James E. O’Neill (DE Bar No. 4042)
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                                               Proposed Counsel to the Debtors and
                                               Debtors-in-Possession



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